                                                                              FORM NO. BA-23
                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In Re:
 Richard Farrell Lambert                               Case No.: 19-81655-CRJ-7



                    Debtor(s).

                                 REPORT OF INITIAL DEPOSIT

 To the Honorable Clifton R. Jessup, Jr. Bankruptcy Judge for the Northern District of Alabama,
 Northern Division:

 This is to advise that I have made a deposit or investment at:

         Bank:                            Union Bank

         Account No.                      2133039673

         Date:                            08/20/19

         Amount of Deposit:               $9,364.09

         Name of Account:                 Tazewell T. Shepard, as Trustee for the Bankruptcy
                                          Estate of Richard Farrell Lambert
                                          BK Case #19-81655-CRJ-7

         Nature of Account:               Checking

         Source of Funds:                 Mark O. South, Attorney At Law
                                          Trust Account

 If this is a checking account, the "90 Day Notice" the Debtor's name, and the case number will be
 printed on the checks. I have notified the entity named above of its reporting requirements under
 regulations promulgated by the Administrative Office of U.S. Courts as described in Vol. V-C,
 Ch. IX, Part B, of the Guide to Judicial Policies and Procedures (reproduced as Appendix K to
 the Trustee's Manual.) This deposit or investment is insured or guaranteed by the United States,
 or a department, agency or instrumentality of the United States, or backed by the full faith and
 credit of the United States, except for the following amount:

 Date: September 3, 2019                                   RESPECTFULLY SUBMITTED,

                                                          /s/ Tazewell T. Shepard
                                                          TAZEWELL T. SHEPARD



Case 19-81655-CRJ7         Doc 18    Filed 09/03/19 Entered 09/03/19 12:34:58          Desc Main
                                    Document      Page 1 of 1
